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                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF UTAH


 RESORT CENTER ASSOCIATES, LLC,
 a Utah Limited Liability Company,             Case Number 2:21-cv-00078-BSJ
  Plaintiff,
                                               FEDERAL DEFENDANTS’
                                               MOTION TO DISMISS AND
 v.
                                               SUPPORTING MEMORANDUM

 MICHAEL S. REGAN, in his official
 capacity as Administrator of the United
 States Environmental Protection Agency,
 the UNITED STATES
 ENVIRONMENTAL PROTECTION
 AGENCY, SCOTT BAIRD, in his official
 capacity as Executive Director of the Utah
 Department of Environmental Quality, the
 UTAH DEPARTMENT OF
 ENVIRONMENTAL QUALITY, the
 COUNTY OF SUMMIT, a body politic and
 corporate of the State of Utah, UNITED
 PARK CITY MINES COMPANY, a
 Delaware corporation, and DOES 1-20,

  Defendants.
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                                      MOTION TO DISMISS

         Defendants United States Environmental Protection Agency and Michael Regan, in his

official capacity as EPA Administrator, (collectively “EPA”) move, in accordance with Fed. R.

Civ. P. 12(b)(1), to dismiss the first, second, third, fourth, sixth, and seventh claims asserted

against them because this Court lacks subject matter jurisdiction over these claims.1 EPA also

moves, in accordance with Fed. R. Civ. P. 12(b)(6), to dismiss the seventh claim for failure to

state a claim upon which relief can be granted. The Court lacks subject matter jurisdiction over

the first and second claims for relief because Section 113(h) of the Comprehensive

Environmental Response, Compensation, and Liability Act (“CERCLA”), 42 U.S.C. § 9613(h),

bars federal court jurisdiction over Resort Center Associates’ (“Resort Center”) claims

challenging EPA’s ongoing CERCLA removal actions at the Richardson Flat Tailings Site. The

Court lacks jurisdiction over the second claim for the additional reason that the claim does not

identify or implicate a nondiscretionary duty. The Court lacks jurisdiction over the third and

fourth claims because these inverse condemnation claims appear to exceed $10,000 and therefore

must be brought in the United States Court of Federal Claims. Resort Center’s sixth claim must

be dismissed because Resort Center did not comply with the prerequisites for asserting a judicial

claim under the Federal Tort Claims Act (“FTCA”) and its claim for interference with

prospective economic advantage falls outside the FTCA’s waiver of sovereign immunity.

Finally, the seventh claim must be dismissed because, as a contract-based claim appearing to

exceed $10,000, it must be brought in the Court of Federal Claims and because Resort Center is

not a third-party beneficiary of the alleged contracts.


1
    The fifth claim for relief is not pled against EPA or Mr. Regan.


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       For the reasons set forth in the Memorandum below, the Court should dismiss all of

Resort Center’s claims asserted against EPA.

                                        MEMORANDUM

       The “first and fundamental question” presented by every case is whether the court has

jurisdiction to hear it. Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 94 (1998). Federal

courts are courts of limited jurisdiction and may hear cases only to the extent expressly provided

by the Constitution or statute. Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377

(1994). If subject matter jurisdiction does not exist, “the court cannot proceed at all in any

cause.” Steel Co., 523 U.S. at 94.

       Resort Center bears the burden of establishing the existence of subject matter jurisdiction

over its claims against EPA by showing that Resort Center’s claims are expressly authorized by

the Constitution or statute, including an applicable and unequivocal waiver of sovereign

immunity. Lane v Pena, 518 U.S. 187, 192 (1996); Kokkonen, 511 U.S. at 377. Resort Center

cannot meet this burden.

       Resort Center’s claims against EPA arise from EPA’s ongoing efforts under CERCLA to

respond to the release of hazardous substances at the Richardson Flat Tailing Site (“Site”)

attributable to a century of mining activities near Park City, Utah. Pursuant to its CERCLA

authority, EPA is currently engaged in investigations and analyses of contamination at the Site to

evaluate what response actions may be needed to address the contamination. Resort Center

alleges that these activities are adversely impacting its real estate development plans. Resort

Center’s impatience with the pace of environmental cleanup activities is due in part to the failure

of United Park City Mines Company (“UPCM”) to perform the actions required under an



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administrative settlement with EPA. However, Congress did not provide Resort Center with a

legal remedy against EPA to address Resort Center’s alleged injuries that can be heard in this

Court at this time. Its claims against EPA must be dismissed for lack of subject matter

jurisdiction or, in the alternative, the seventh claim fails to state a claim upon which relief can be

granted.

                                  FACTUAL BACKGROUND2

        The Richardson Flat Tailings Site consists of over 2,300 acres in the Silver Creek

watershed in and around Park City, Utah. Declaration of Robert Parker (“Parker Decl.”), Exhibit

1 ¶ 8. The Site is divided into four Operable Units. Id. ¶ 9. Of relevance to this case, Operable

Unit 2 includes portions of Lower Silver Creek north and east of U.S. Highway 40. Compl. ¶ 19.

Operable Unit 3 includes a downstream section of Silver Creek known as “the Middle Reach.”

Compl. ¶ 19.

        Silver was discovered in the Park City area in 1860s. Parker Decl. ¶ 4. Numerous

mining companies over nearly a century mined silver, gold, zinc, and lead in the Park City area.

Id. ¶ 5. The mining companies and mills disposed of non-marketable wastes, which were known

as tailings, by sluicing them into Silver Creek or into ditches or tributaries leading to Silver

Creek. Id. ¶ 6. Silver Creek and its tributaries carried the tailings downstream, depositing them

where the stream velocity was low in locations through the watershed in Park City and

Richardson Flat. Id. ¶ 7. Soil sampling has confirmed that the tailings materials that have come




2
   Background facts taken from the Complaint are undisputed solely for purposes of this motion.
This Background is supplemented with materials relevant to subject matter jurisdiction. See infra
at 6-7.


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to be located in Operable Unit 2 contain hazardous substances, including arsenic, lead, cadmium,

and zinc. Id. ¶ 10.

      EPA commenced actions to address releases of hazardous substances at the Site in 1984.

Compl. ¶ 23. EPA subsequently entered into a series of administrative orders on consent with

UPCM. Id. ¶¶ 24-26. These orders required UPCM to undertake certain CERCLA response

actions at the Site, including investigation and cleanup activities. Id. ¶¶ 24-26. In 2009, UPCM

and EPA entered into an Administrative Settlement Agreement and Order on Consent that

required UPCM to undertake a remedial investigation and feasibility study for Operable Unit 2

(the “2009 Administrative Order”). Compl. ¶ 26; Parker Decl. ¶ 14 and Appendix A (2009

Administrative Order,

https://yosemite.epa.gov/OA/RHC/EPAAdmin.nsf/Filings/58F9E0A513378C2E8525764E00692

ADA/$File/CERCLA0820090007AGREEMENT.pdf). In 2014, UPCM, EPA, and other state

and federal agencies entered into an Administrative Settlement Agreement and Order on Consent

that required UPCM to prepare and perform an Engineering Evaluation/Cost Analysis

(“EE/CA”) and undertake subsequently selected removal actions at Operable Units 2 and 3 of the

Site (the “2014 Administrative Order”). Compl. ¶ 26; Parker Decl. ¶ 15 and Appendix B (2014

Administrative Order,

https://yosemite.epa.gov/OA/RHC/EPAAdmin.nsf/Filings/66C29F23FD29E23985257C98001B

C445/$File/CERCLA0820140003%20AO.pdf). The 2014 Administrative Order superseded the

2009 Administrative Order. Parker Decl. Appendix B ¶ 1.

      UPCM failed to meet its obligations under the 2014 Administrative Order; it did not

perform the evaluation, analysis, and removal actions required by the Order. Compl. ¶ 26;



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Parker Decl. ¶ 17. In 2017, EPA took over a portion of the work required by the 2014

Administrative Order as a result of UPCM’s deficiencies. Compl. ¶ 29; Parker Decl. ¶ 18. EPA

presently is completing the EE/CA for Operable Units 2 and 3. Parker Decl. ¶ 21. When EPA

completes the EE/CA, it expects to select a response action and implement that response action.

Parker Decl. ¶ 22.

      Resort Center owns property near Park City that is within the boundary of Operable Unit

2. Compl. ¶¶ 31,37. It desires to develop a portion of this property to include 18 one-plus acre

residential lots. Id. ¶ 33. Resort Center contends that environmental testing at the proposed

development area has demonstrated the “absence of any hazardous materials in excess of

remedial action levels.” Id. ¶¶ 40, 41. Resort Center further contends that the actions or

omissions of the Defendants have left it in a “legal and administrative limbo” that has harmed its

efforts to develop the property. Id. ¶ 43.

      On October 9, 2020, Resort Center sent letters to the EPA Administrator, the Regional

Administrator for EPA Region 8, and the Attorney General providing its “notice of intent to sue

[EPA] . . . for violation of a standard, regulation, condition, requirement, or order which has

become effective pursuant to CERCLA;” “for failure to perform non-discretionary duties under

CERCLA;” and to remedy the allegedly “unconstitutional taking of [Resort Center’s] property.”

Compl., Ex. B to Declaration of Kenneth J. Melrose, ECF No. 2-1 at 58-85 of 130. The notices

discussed Resort Center’s legal theories that EPA violated CERCLA and committed a taking

under the Fifth Amendment. The notices did not state that Resort Center was contemplating

bringing a tort claim against the United States, did not state that Resort Center was presenting to

EPA an administrative claim under the Federal Tort Claims Act, and did not demand a sum



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certain from EPA. EPA’s Civil Rights and Finance Law Office within the Office of General

Counsel—the organization within EPA that processes, monitors, and resolves administrative

claims presented to EPA under the Federal Tort Claims Act—has no record of receiving an

administrative claim under the FTCA from Resort Center. See Declaration of Kenneth Redden,

¶¶ 2-4 (“Redden Decl.”), Exhibit 2.

      Resort Center asserts six claims against EPA. The first two claims are asserted under

CERCLA’s “citizen suit” provision, 42 U.S.C. § 9659(a). The first claim seeks declaratory and

injunctive relief under Section 9659(a)(1) based on allegations that EPA’s actions related to the

Site have violated standards, regulations, conditions, and requirements under CERCLA. Compl.

¶¶ 45-51. The second claim, under Section 9659(a)(2), alleges that EPA has failed to perform

nondiscretionary duties under CERCLA. Id. ¶¶ 52-60. The third and fourth claims seek

damages under a theory of inverse condemnation. Id. ¶¶ 61-72. The sixth claim alleges

negligent interference with prospective economic advantage. Id. ¶¶ 81-88. The final claim seeks

damages based on allegations that Resort Center is a third-party beneficiary to the 2009 and 2014

Administrative Orders. Id. ¶¶ 89-93.

                                   STANDARD OF REVIEW

       A Rule 12(b)(1) motion for lack of subject matter jurisdiction can take two forms: a

facial attack, which challenges the sufficiency of the complaint, or a factual attack, which

challenges the factual existence of subject matter jurisdiction. Holt v. United States, 46 F.3d

1000, 1002-03 (10th Cir. 1995). EPA asserts a facial attack on Resort Center’s second, third,

fourth, and seventh claims. For purposes of EPA’s argument on these claims, the Court accepts

the factual allegations in the Complaint as true. Id. at 1002. EPA asserts factual attacks on



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Resort Center’s first, second, and sixth claims, and no presumptive truthfulness applies to the

Complaint’s factual allegations. Id. at 1003. A court has “wide discretion” under Rule 12(b)(1)

to consider materials outside the pleadings and to resolve factual disputes to determine its subject

matter jurisdiction. Id.

       If the Court reaches the merits of the seventh claim, the United States moves to dismiss

that claim for failure to state a claim under Rule 12(b)(6). The Court accepts all well-pleaded

factual allegations as true, but it can also consider the terms of contracts when the contracts are

referred to in the complaint, are central to this claim, and their authenticity cannot be disputed.

See Toone v. Wells Fargo Bank, N.A., 716 F.3d 516, 520-21 (10th Cir. 2013).

                                           ARGUMENT

I.     Resort Center’s CERCLA Claims Are Barred by the Timing of Review Provision of
       42 U.S.C. § 9613(h).

       A.    Section 9613(h) Bars Premature Challenges to EPA Response Actions.

       CERCLA provides a broad statutory scheme for the prompt cleanup of hazardous

substances. See Colorado v. Idarado Mining Co., 916 F.2d 1486, 1488-89 (10th Cir. 1990). The

President delegated to EPA the authority “to act, consistent with the national contingency plan,

to remove or arrange for the removal of, and provide for remedial action” relating to the release

or threatened release of hazardous substances, pollutants, and contaminants. 42 U.S.C. §

9604(a)(1); Exec. Order No. 12,580, 52 Fed. Reg. 2,823 (Jan. 23, 1987). This authority includes

investigations, testing, and other information gathering necessary or appropriate to identify the

existence and extent of the release or threat of release. Id. § 9604(b).

       EPA may respond to any actual or threatened release of hazardous substances into the

environment by taking “removal” or “remedial” actions. Id. § 9604(a)(1). “Removal” actions


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include “the cleanup or removal of released hazardous substances from the environment,” or

“such other actions as may be necessary to prevent, minimize, or mitigate damage to the public

health or welfare or to the environment . . . .” Id. § 9601(23). A “removal action” also includes

“such actions as may be necessary to monitor, assess, and evaluate the release.” Id. In

comparison, “remedial actions” are generally those actions consistent with a permanent remedy.

Id. § 9601(24).

       CERCLA expressly limits a person’s ability to challenge ongoing removal or remedial

actions in federal court. Section 9613(h) states that “[n]o Federal court shall have jurisdiction

. . . to review any challenges to removal or remedial action selected under section 9604” except

in five identified circumstances. 42 U.S.C. § 9613(h). Section 9613(h) “strip[s] federal

jurisdiction from any challenge that would interfere” with CERCLA response actions. Cannon

v. Gates, 538 F.3d 1328, 1336 (10th Cir. 2008) (emphasis added). “An action constitutes a

challenge if it is related to the goals of the cleanup.” Razore v. Tulalip Tribes of Wash., 66 F.3d

236, 239 (9th Cir. 1995). In enacting the jurisdictional bar, Congress intended to prevent time-

consuming litigation that might interfere with CERCLA’s overall goal of effecting the prompt

cleanup of hazardous waste sites. United States v. City and Cnty. of Denver, 100 F.3d 1509,

1514 (10th Cir. 1996). Section 9613(h)’s jurisdictional bar applies “if the Government has only

begun to ‘monitor, assess, and evaluate the release or threat of release of hazardous substances.’”

Cannon, 538 F.3d at 1334 (quoting Razore, 66 F.3d at 239);

       CERCLA specifies five limited exceptions to the jurisdictional bar in section 9613(h). 42

U.S.C. § 9613(h)(1)-(5); Cf. Atlantic Richfield Co. v. Christian, 140 S.Ct. 1335, 1346 (2020)

(stripping federal courts of jurisdiction except in five limited circumstances). Only one



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exception is potentially relevant here, and only to Resort Center’s first claim: citizen suits may

proceed if they pertain to a “removal or remedial action taken under section 9604 . . . in

violation of any requirement of this chapter.” 42 U.S.C. § 9613(h)(4) (emphasis added).

       By using the phrase “removal or remedial action taken,” Section 9613(h)(4) precludes

federal courts from considering CERCLA citizen suits until after the removal action is

complete. See Frey v. EPA, 751 F.3d 461, 467 (7th Cir. 2014); Broward Gardens Tenants Ass’n

v. United States EPA, 311 F.3d 1066, 1072 (11th Cir. 2002). Congress made a considered choice

that hazardous waste sites should be cleaned up as quickly as possible and without interruption

by citizen suits, which cannot be filed until completion of the cleanup. Pollack v. U.S. Dep’t of

Def., 507 F.3d 522, 525 (7th Cir. 2007). Congress concluded that cleanup “delays caused by

citizen suit challenges posed a greater risk to the public welfare than the risk of EPA error in the

selection of methods of remediation.” Clinton Cnty. Comm’rs v. EPA, 116 F.3d 1018, 1025 (3d

Cir. 1997) (en banc).

       B.      Resort Center’s Two CERCLA Citizen Suit Claims Constitute a Prohibited
               Challenge to EPA’s Removal Actions.

       A “challenge” to a removal action occurs when a lawsuit interferes with the

implementation of a CERCLA response because the relief requested will impact the removal

action. See Cannon, 538 F.3d at 1336. The Tenth Circuit and other courts of appeals

consistently apply Section 9613(h)’s bar to challenges when EPA is in the investigatory phase of

a CERCLA cleanup, as it is here. See e.g., Cannon, 538 F.3d at 1335 (holding that a RCRA

citizen suit requesting injunctive relief “would undoubtedly interfere with the Government’s

ongoing” site assessment); Alabama v. EPA, 871 F.2d 1548, 1559 (11th Cir. 1989) (holding that

a suit requesting injunctive relief constituted a challenge for the purposes of Section 9613(h));


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Boarhead Corp. v. Erickson, 923 F.2d 1101, 1018-19 (3d Cir. 1991) (applying the Section

9613(h) bar when EPA had initiated but not completed a remedial investigation and feasibility

study). The bar on judicial review prescribed by Section 9613(h) applies through the completion

of the remedy because “CERCLA ‘protects the execution of a CERCLA plan during its

pendency from lawsuits that might interfere with the expeditious cleanup effort.’” New Mexico

v. Gen. Elec. Co., 467 F.3d 1223, 1249 (10th Cir. 2006).

       The declaratory and injunctive relief sought by Resort Center in both of its citizen suit

claims asks this Court to engage in the type of premature judicial intervention barred by Section

9613(h)’s timing of review provision. As relief under its CERCLA claims, Resort Center

requests the Court to determine that EPA has violated CERCLA and to order EPA to remove

Resort Center’s property from the boundaries of Operable Unit 2 or issue a no further action

letter. Compl. ¶¶ 51, 60. Resort Center also requests the Court to compel EPA to issue a Record

of Decision and complete any remaining cleanup actions. Id. Resort Center’s requests for

declaratory and injunctive relief are “challenges” under Section 9613(h) because they ask this

Court to interfere with EPA’s efforts to assess, study, and evaluate contamination at the Site,

which EPA considers prior to selecting a remedy or moving forward with additional removal

activities. Therefore, Section 9613(h) divests the Court of subject matter jurisdiction over Resort

Center’s two CERCLA citizen suit claims, and they must be dismissed under Rule 12(b)(1).

       C.      The Exception in Section 9613(h)(4) for Certain Citizen Suit Claims Does Not
               Apply to Resort Center’s First Claim Because EPA’s Removal Actions Are
               Not Completed.

       EPA’s current, ongoing cleanup actions at the Site are removal actions under Section

9604. Parker Decl. ¶ 21. As noted above, removal actions include actions that are necessary to



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monitor, assess, and evaluate a release of hazardous substances. 42 U.S.C. § 9601(23). In 2017,

EPA took over the preparation and performance of the EE/CA. Parker Decl. ¶ 18. The EE/CA

incudes the collection of data to characterize conditions at Operable Units 2 and 3 to determine

the extent of contamination. Id. ¶¶ 16, 19. The EE/CA may also include the performance of

treatability testing, which is needed to evaluate the potential performance and cost of the possible

treatment technologies. Id. ¶ 16. The EE/CA helps determines alternative removal actions to

prevent, mitigate, or otherwise respond to or remedy the release of hazardous substances at the

operable units. Id. EPA is currently performing the EE/CA, but has not yet completed the

necessary analyses. Id. ¶ 21.

       Federal courts have repeatedly confirmed that the jurisdictional bar of Section 9613(h)

includes challenges to removal actions such as EPA’s evaluations and assessments for Operable

Unit 2. See Cannon, 538 F.3d at 1334 (finding that a preliminary assessment of the property is a

removal action); Razore, 66 F.3d at 239 (finding that a feasibility study is a removal

action); Boarhead Corp., 923 F.2d at 1018-19 (finding that studying the release of hazardous

substances is a removal action under section 9613(h)). Specifically, EE/CA actions are removal

actions, and any actions recommended by a completed EE/CA are also removal actions. See

R.E. Goodson Constr. Co. v. Int'l Paper Co., No. 4:02-4184-RBH, 2005 WL 2614927 at *24

(D.S.C. Oct. 13, 2005) (unpublished). Therefore, EPA’s ongoing EE/CA actions at Operable

Units 2 and 3 are removal actions, which cannot be challenged until completion of the response

action. See New Mexico, 467 F.3d at 1249. The exception in Section 9613(h)(4) does not apply

to Resort Center’s first claim.




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II.    The Second Claim Should Also Be Dismissed Because Resort Center Does Not
       Allege a Nondiscretionary Duty.

       Resort Center’s second claim relies on CERCLA’s citizen suit provision that allows a

person to commence a civil action against the EPA Administrator when “there is alleged a failure

[of the Administrator] to perform an act or duty under [CERCLA] . . . which is not

discretionary.” Compl. at 16; 42 U.S.C. § 9659(a)(2). A waiver of sovereign immunity such as

the citizen suit provision in federal environmental statutes must be construed strictly in favor of

the sovereign and not enlarged beyond what the statutory text requires. U.S. Dep't. of Energy v.

Ohio, 503 U.S. 607, 615 (1992).

       Citizen suits under the nondiscretionary duty provisions of federal environmental laws

are “restricted . . . to actions seeking to enforce specific, non-discretionary clear-cut

requirements” of the statute. Mountain States Legal Found. v. Costle, 630 F.2d 754, 766 (10th

Cir. 1980) (interpreting identical nondiscretionary duty provision in the Clean Air Act); see

Miccosukee Tribe of Indians of Fla. v. EPA, 105 F.3d 599, 602 (11th Cir. 1997) (stating that a

“clearly mandated, nondiscretionary duty imposed on the Administrator” is a prerequisite for

federal jurisdiction under an identical Clean Water Act citizen suit provision); Dubois v. Thomas,

820 F.2d 943, 946-47 (8th Cir. 1987) (same). When a party fails to identify a nondiscretionary

duty that the EPA failed to perform, the court lacks jurisdiction over the claim. Askins v. Ohio

Dep’t. of Agric., 809 F.3d 868, 877 (6th Cir. 2016).

       Resort Center fails to allege a nondiscretionary duty. The only statutory provision that

Resort Center identifies in its second claim as a source of a nondiscretionary duty is Section

9604(a). Compl. ¶ 56. The relevant sentence in this provision provides that when EPA


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“determines that [certain CERCLA actions] will be done properly and promptly by the owner or

operator the facility or vessel or other responsible party, [EPA] may allow such person to carry

out the action.” 42 U.S.C. § 9604(a)(1) (emphasis added).

       This statutory provision does not provide a basis for subject matter jurisdiction for at least

three facial and one factual reasons. First, the authorization in Section 9604(a)(1) is triggered

only when EPA makes a specific determination. Making a determination or finding is a

discretionary act. See Sierra Club v. Whitman, 268 F.3d 898, 902-05 (9th Cir. 2001) (the duty to

make a finding of violation is a discretionary act); Dubois, 820 F.2d at 946 (same). Because

EPA’s exercise of its authority under Section 9604(a)(1) depends on first making a discretionary

determination, this authorization to allow other persons to carry out removal actions under of

Section 9604(a)(1) is not enforceable against EPA as a nondiscretionary duty under the citizen

suit provision.

       Second, even if EPA makes a “properly and promptly” determination, the statute does not

mandate that EPA take any specific action. Section 9604(a)(1) provides that EPA, upon making

the statutory determination, may allow another person to carry out a CERCLA action. The

statute does not command that EPA “must” or “shall” allow another person to carry out a

CERCLA action. The term “may” is permissive, not mandatory. See Stewman v. Mid-South

Wood Prod. of Mena, Inc., 784 F. Supp. 611, 617 (W.D. Ark. 1992). EPA’s decision to enter

into the 2014 Administrative Order with UPCM was a discretionary act and not a permissible

basis for a citizen suit based on a nondiscretionary duty.

       Third, even if Section 9604(a) contained a nondiscretionary duty, which it does not,

Resort Center does not allege that EPA failed to comply with the statutory provision. Resort



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Center does not allege that EPA failed to make the “properly and promptly determination” before

issuing the 2014 Administrative Order. Compl. at 16-17. Resort Center’s Complaint is

insufficient on its face to establish subject matter jurisdiction.

        Finally, subject matter jurisdiction over the second claim is lacking as a factual matter.

EPA made the “properly and promptly determination” in the 2014 Administrative Order.

Paragraph 26(g) of the 2014 Administrative Order states:

        EPA and BLM have determined that UPCM is qualified to conduct the Work
        pursuant to this Settlement Agreement within the meaning of Section 104(a) of
        CERCLA, 42 U.S.C. § 9604(a), and will carry out the Work properly and
        promptly, in accordance with Sections 104(a) and 122(a) of CERCLA, 42 U.S.C.
        §§ 9604(a) and 9622(a), by complying with the terms of this Settlement
        Agreement.

Parker Decl., Appendix B ¶ 26(g) (emphasis added). EPA cannot have failed to perform the

alleged nondiscretionary duty when it complied with the statute. United States v. Sensient

Colors, Inc., 649 F. Supp. 2d 309, 332 (D.N.J. 2009).

        In sum, Resort Center’s second claim does not identify a nondiscretionary duty, does not

allege that EPA failed to comply with the statutory directive, and EPA in fact complied with the

discretionary parameters set forth in the statute. The Court should dismiss the second claim for

lack of subject matter jurisdiction.

III.    This Court Lacks Jurisdiction Over Resort Center’s Fifth Amendment Takings
        Claims.

        Resort Center’s third and fourth claims allege Fifth Amendment takings for which it

seeks just compensation. Compl. ¶¶ 63-72. This Court lacks jurisdiction to hear these claims.

        The United States’ waiver of sovereign immunity for Fifth Amendment takings claims is

contained in the Tucker Act and the Little Tucker Act. The Tucker Act provides in relevant part



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that “[t]he United States Court of Federal Claims shall have jurisdiction to render judgment upon

any claim against the United States founded . . . upon the Constitution . . . .” 28 U.S.C.

§1491(a)(1). The Little Tucker Act provides concurrent jurisdiction to the federal district courts

over such claims “not exceeding $10,000 in amount[.]” 28 U.S.C. §1346(a)(2). As a result of

that claim limit, “the Court of Federal Claims has exclusive jurisdiction over such claims

exceeding $10,000.” Union Pac. R.R. v. United States, 591 F.3d 1311, 1314 (10th Cir. 2010).

See also United States v. Bormes, 568 U.S. 6, 10 n.2 (2012) (“the Little Tucker Act creates

jurisdiction in the district courts concurrent with the Court of Federal Claims for covered claims

of $10,000 or less”).

       Resort Center bears the burden of establishing that this Court has subject matter

jurisdiction over its takings claims. It has not done so here. The Little Tucker Act, which is not

identified in the Complaint, only provides this Court with jurisdiction over takings claims

seeking up to $10,000. Resort Center fails to include any allegations in its Complaint

establishing that its takings claims fall below this jurisdictional claim limit, and those allegations

it does make indicate that the claims exceed that limit. Specifically, the Complaint identifies the

property allegedly taken as a 191-acre parcel of land near Park City on which Resort Center

seeks to develop 18 one-acre lots. Compl. ¶¶ 31, 33, 74. Resort Center seeks a judgment in its

favor for a taking of this property “in a sum to be proven at trial.” Compl. at 23. The

Development Agreement attached to the Complaint provides that Resort Center must donate

$25,000 to a local recreation district and provide other amenities and infrastructure as part of this

planned residential subdivision. See Compl., Ex. A to Melrose Decl., ECF No. 2-1, at 9 of 130.




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Therefore, the Development Agreement demonstrates that the value of this property exceeds

$10,000.

         Because Resort Center has not met its burden of establishing that its takings claims fall

within this Court’s limited jurisdiction under the Little Tucker Act, the Court should dismiss

those claims for lack of subject matter jurisdiction.

IV.      The Federal Defendants Are Not Proper Defendants in an FTCA Action, and the
         United States Has Not Waived Sovereign Immunity for Resort Center’s Tort Claim.

         As a sovereign, the United States is immune from liability absent its consent, and the

terms of that consent define a court’s jurisdiction to entertain a suit against the United States.

United States v. Mitchell, 445 U.S. 535, 538 (1980). The “limitations and conditions upon which

the Government consents to be sued must be strictly observed and exceptions thereto are not to

be implied.” Lehman v. Nakshian, 453 U.S. 156, 161 (1981) (quoting Soriano v. United States,

352 U.S. 270, 276 (1957)).

         Congress provided such a waiver of sovereign immunity for certain tort claims seeking

money damages based on the negligent or wrongful acts of federal employees through the

FTCA.3 However, Congress carefully defined the scope of that waiver. Two provisions of the

FTCA are relevant to this motion.4 First, Congress required plaintiffs to present claims to the

relevant federal agency first. See generally 28 U.S.C. § 2675. The administrative claim must


3
  These tort claims must be brought against the United States itself, not against a federal agency
or officer. See Smith v. United States, 561 F.3d 1090, 1099 (10th Cir. 2009). Thus, even if the
tort claim were to go forward, the United States must be substituted as the defendant in place of
EPA or the Administrator.
4
 By raising these provisions of the FTCA in this motion to dismiss, the United States does not
waive or forfeit—and may raise in a future motion—the application of other provisions of the
FTCA.


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describe the claimant’s injury to allow the agency to investigate the matter and “a sum certain

damages claim.” Bradley v. United States, 951 F.2d 268, 270 (10th Cir. 1991). This

administrative claim process “ease[s] court congestion and avoid[s] unnecessary litigation, while

making it possible for the Government to expedite the fair settlement of tort claims asserted

against the United States.” Frantz v. United States, 29 F.3d 222, 224 (5th Cir. 1994) (quoting S.

Rep. No. 89-1327, 1966 U.S.C.C.A.N. 2515, 2516). Thus, “[t]he FTCA bars claimants from

bringing suit in federal court until they have exhausted their administrative remedies.” McNeil v.

United States, 508 U.S. 106, 113 (1993).

       Second, Congress did not waive the United States’ sovereign immunity for “claim[s]

arising out of . . . interference with contract rights.” 28 U.S.C. § 2680(h). This exception to the

waiver of sovereign immunity applies to tortious interference with current or future contractual

relationships. See Cooper v. American Auto. Ins. Co., 978 F.2d 602, 613 (10th Cir. 1992);

Mecca v. United States, 389 F. App’x 775, 780 (10th Cir. 2010); Art Metal-U.S.A., Inc. v. United

States, 753 F.2d 1151, 1155 (D.C. Cir. 1985).

       A.      The Court Must Dismiss Resort Center’s Tort Claim Against EPA for
               Failure to Submit an Administrative Claim.

       Resort Center failed to submit an administrative tort claim to EPA as required by the

FTCA, and, therefore, its tort claim must be dismissed. “[B]ringing an administrative claim is a

jurisdictional prerequisite to suit, imposed by Congress, which the courts have no power to

waive.” Nero v. Cherokee Nation of Okla., 892 F.2d 1457, 1463 (10th Cir. 1989). Resort Center

does not plead that it submitted an administrative claim to EPA, and EPA has no record of

having received such an administrative claim from Resort Center. See Redden Decl. ¶ 4.

Accordingly, “[p]laintiff[’s] failure to file an administrative claim prior to filing this cause of


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action bars this suit.” Industrial Constructors Corp. v. U.S. Bureau of Reclamation, 15 F.3d 963,

968 (10th Cir. 1994).

       Resort Center’s letters to EPA, the EPA Region 8 Administrator, and the Attorney

General giving notice of CERCLA and Fifth Amendment takings claims against EPA do not

satisfy the administrative claim requirement because the letters did not claim a “sum certain”

from EPA. “Failure to comply with the sum certain requirement results in the case being treated

as if no administrative claim had ever been filed” because the sum certain helps “afford[] the

agency sufficient information to determine whether Plaintiff’s claim [i]s realistic or settleable.”

Bradley, 951 F.2d at 271. Nowhere in the letters did Resort Center demand a sum certain from

EPA. Compl., Ex. B to Melrose Decl., ECF 2-1, at 58-85 of 130. Even at this late date, Resort

Center’s Complaint seeking damages is devoid of any sum-certain or otherwise. Compl. ¶ 87

(seeking damages “to be determined at trial”). Accordingly, Resort Center cannot count its

CERCLA notice letters as a replacement for the administrative claim the FTCA requires, and

Resort Center’s tort claim against EPA must be dismissed for lack of subject matter jurisdiction.

       B.      The Court Must Dismiss Resort Center’s Tort Claim Against EPA Because
               There Is No Waiver of Sovereign Immunity for Claims Based on Interference
               with Contract Rights.

       Resort Center’s tort claim against the EPA is defined as “Negligent Interference with

Prospective Economic Advantage.” Compl. at 20. However, “actions for tortious interference

with business (i.e., prospective) advantage are barred as claims arising out of interference with

contract rights.” Chen v. United States, 854 F.2d 622, 628 n.2 (2d Cir. 1988). This is because

the FTCA does not waive immunity for “interference with contract rights,” 28 U.S.C. § 2680(h),

and “[t]o hold that interference with prospective advantage does not arise out of interference with



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contract rights” would create the “illogical” result that “the government [is subject] to liability if

its employees interfered with the plaintiff’s mere expectation of entering a contract, but not if

they interfered with a contract already in existence,” Art Metal-U.S.A., 753 F.2d at 1155; see also

Moessmer v. United States, 760 F.2d 236, 237 (8th Cir. 1985) (“Moessmer’s claim for

interference with prospective economic advantage is the equivalent of a claim for interference

with contract rights, and thus falls within the section 2680(h) exemption.”). Accordingly, courts

in this Circuit dismiss claims against the United States for interference with prospective

economic advantage, see Cooper, 978 F.2d at 613; Mecca, 389 F. App’x at 780; Silva v. United

States, No. 17-CV-1224 MV/JHR, 2021 WL 24572, at *2 (D.N.M. Jan. 4, 2021) (unpublished);

Holmes Herefords, Inc. v. United States, 753 F. Supp. 901, 905-06 (D. Wyo. 1990), and Resort

Center’s interference with economic advantage claim should be dismissed as to EPA for lack of

subject matter jurisdiction.

V.     Resort Center Cannot Seek Money Damages Under the 2009 and 2014
       Administrative Orders in This Court.

       Resort Center’s claim for money damages based on its alleged “Third Party Beneficiary”

status to the 2009 and 2014 Administrative Orders suffers from at least two defects. First, unless

the claim for damages does not exceed $10,000, this Court lacks subject matter jurisdiction to

hear this contract-based claim. See 28 U.S.C. § 1346(a)(2). Second, Resort Center is not a third-

party beneficiary under the 2009 and 2014 Administrative Orders entitled to enforce them

against EPA.




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        A.      This Court Lacks Subject Matter Jurisdiction for Contract-Based Claims
                Such as Resort Center’s That Exceed $10,000.

        Resort Center identifies no waiver of the United States’ sovereign immunity for this

“Third Party Beneficiary” claim, but the claim characterizes the 2009 and 2014 Administrative

Orders as “agreements” and seeks damages. E.g., Compl. ¶¶ 91, 93. Therefore, the United States

assumes Resort Center to claim to be a third party beneficiary to contracts where the United

States is a party.

        As with the takings claims discussed above, under 28 U.S.C. § 1346(a)(2), this Court has

jurisdiction over “civil action[s] or claim[s] against the United States, not exceeding $10,000 in

amount, founded . . . upon any express or implied contract with the United States.” Otherwise,

claims against the United States founded on contract must be brought in the Court of Federal

Claims. Id. § 1491(a)(1); see also Union Pac. R.R. Co., 591 F.3d at 1314. Actions claiming

third-party beneficiary status of alleged contracts are actions founded upon contract subject to

these provisions. See Roedler v. Department of Energy, 255 F.3d 1347, 1350-51 (Fed. Cir.

2001). As with the takings claims discussed above, although the Complaint does not specify the

damages sought for this claim, if Resort Center seeks more than $10,000 in damages, this

contract-based claim belongs to the Court of Federal Claims exclusive jurisdiction. See supra §

III; see also Roedler, 255 F.3d at 1351 (noting that plaintiffs had stipulated to seeking a

maximum of $10,000 for the case to remain in district court as opposed to the Court of Federal

Claims).




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         B.     Resort Center Is Not an Intended Third-Party Beneficiary of the 2009 and
                2014 Administrative Orders.

         Federal common law governs the contracts of the United States. Id. Assuming that the

2009 and 2014 Administrative Orders are contracts as Resort Center has alleged, the contracts

and “the rights and duties of the parties [are] determined by application of the same principles of

law as if the contract were between private individuals,” and the Court looks to “third party

beneficiary law as developed in the common law and explained by precedent.” Id.

         Resort Center is not a party to the 2009 and 2014 Administrative Orders, nor is it

expressly named as a third-party beneficiary; thus, Resort Center must establish it is an implied

third-party beneficiary. “To establish a right of action by a third person who is not a party to or

identified in the contract as a beneficiary of its performance, the contract must show the intention

of the contracting parties to provide a benefit to that person.” Id. at 1352. “One way to ascertain

such intent is to ask whether the beneficiary would be reasonable in relying on the promise as

manifesting an intention to confer a right on him.” Montana v. United States, 124 F.3d 1269,

1273 (Fed. Cir. 1997). Here, however, Resort Center was not reasonable in relying on any

alleged promises in the 2009 and 2014 Administrative Orders. Both Administrative Orders

expressly disclaim creating any rights for non-parties to the Administrative Orders.5

         The 2009 Administrative Order specifies that, except for two unrelated provisions,

“nothing in this Settlement Agreement shall be construed to create any rights in, or grant any

cause of action to, any person not a Party to this Settlement Agreement.” Parker Decl.,


5
  Because Resort Center seeks damages under the Administrative Orders, the Court can consider
the actual 2009 and 2014 Administrative Orders because they are public records of the EPA
available on its website, are referred to in the Complaint, are central to this claim, and their
authenticity cannot be disputed. See Toone, 716 F.3d at 521.


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Appendix A, ¶ 90(c). The 2014 Administrative Order similarly provides that, except for two

unrelated provisions, “nothing in this Settlement Agreement . . . creates a cause of action on

behalf of any person not a party to this Settlement Agreement.” Parker Decl., Appendix B,

¶ 112. Both Administrative Orders further disclaim any rights by non-parties such as Resort

Center to enforce the Administrators Orders against EPA, because both agreements state that

“[n]o action or decision by EPA . . . pursuant to this Settlement Agreement shall give rise to any

right to judicial review, except as set forth in Section 113(h) of CERCLA.” Id. ¶ 113; Parker

Decl., Appendix A, ¶ 87.

       “Utah courts have dismissed . . . third-party beneficiary claim[s] pursuant to a Rule

12(b)(6) motion where the contract contained a clause declaring that there was no intended third-

party beneficiary.” Fornazor Int’l, Inc. v. Huntsman, No. 2:14-CV-291 TS, 2015 WL 6142962,

at *8 (D. Utah Oct. 19, 2015) (unpublished). And “an express provision negating an intent to

permit enforcement of the contract by third parties is decisive as to the rights of such parties to

enforce it.” Doyle v. Jewell, No. 2:13-CV-861-CW, 2015 WL 1609132, at *3 (D. Utah Apr. 10,

2015) (unpublished) (quoting 17A Am. Jur. 2d Contracts § 420). The Orders make clear that

Resort Center is not an implied third-party beneficiary, and it cannot seek damages against EPA

under them.




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                                          CONCLUSION

        For the reasons set forth above, the Court should dismiss Resort Center’s first, second,

third, fourth, sixth, and seventh claims against EPA and its Administrator because the Court

lacks subject matter jurisdiction over the claims or, in the alternative, the seventh claim fails to

state a claim.

                                               Respectfully submitted,

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                              CERTIFICATE OF SERVICE

I hereby certify that the above motion was filed on May 14, 2021, through the Court’s CM/ECF
system, which will serve all registered counsel.


                                                  s/ Alan D. Greenberg
                                                  ALAN D. GREENBERG




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